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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )               Case No. 98-CR-06-TCK
                                              )
JAMES EDWARD HICKS JR.,                       )
                                              )
               Defendant.                     )

                                    OPINION AND ORDER

       Before the Court is the Plaintiff’s Motion to Dismiss Defendant James Edward Hicks, Jr.’s

(“Hicks”) Successive §2255 Motion (Doc. 97).

       I. Background

       In 1997, Hicks committed six armed robberies of various businesses in Tulsa, Oklahoma.

(PSR at ¶¶ 9-16). A twelve-count superseding indictment charged Hicks with six counts of Hobbs

Act robbery in violation of 18 U.S.C. § 1951 and six accompanying counts of using a firearm

during a crime of violence in violation of 18 U.S.C. § 924(c). (Id. at ¶ 6; see Doc. 6). At the time

of Hicks’s offenses, § 924(c) prohibited using or carrying a firearm during or in relation to a crime

of violence. The statute defines “crime of violence” as a federal offense that is a felony and

       (A) has as an element the use, attempted use, or threatened use of physical force against
       the person or property of another, or
       (B) that by its nature, involves a substantial risk that physical force against the person or
       property of another may be used in the course of committing the offense.
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18 U.S.C. § 924(c)(3). Each of his § 924(c) convictions were premised on a corresponding Hobbs

Act robbery. (Doc. 6). The Hobbs Act, 18 U.S.C. § 1951(b)(1), defines robbery, in pertinent part,

as:

       the unlawful taking or obtaining of personal property from the person or in the
       presence of another, against his will, by means of actual or threatened force, or
       violence, or fear of injury, immediate or future, to his person or property, or
       property in his custody or possession, or the person or property of a relative or
       member of his family or of anyone in his company at the time of the taking or
       obtaining.

18 U.S.C. § 1951(b)(1).

       A jury convicted Hicks of all twelve counts, including six violations of § 924(c). (PSR at

¶ 8; see Doc. 43). This Court sentenced Hicks to a total of 1350 months of imprisonment, including

consecutive terms of 60 months for the first § 924(c) conviction, and 240 months for each of the

subsequent § 924(c) convictions. (Doc. 43). Hicks appealed this Court’s denial of his motion to

suppress, and the Tenth Circuit affirmed his conviction. United States v. Hicks, 182 F.3d 933 (10th

Cir. 1999).

       In 2000, Hicks filed his first motion under 28 U.S.C. § 2255; this Court denied the motion

on the merits. (Doc. 70). Hicks appealed, but the Tenth Circuit denied him a certificate of

appealability and dismissed the appeal. (Doc. 80). In 2016, Hicks sought authorization from the

Tenth Circuit to file a second or successive § 2255 motion challenging his § 924(c) convictions in

light of Johnson v. United States, 135 S.Ct. 2551 (2015). Hicks later supplemented his application

based on the Supreme Court’s decision in United States v. Davis, 139 S.Ct. 2319 (2019),

invalidating as unconstitutionally vague the “residual clause” contained in § 924(c)(3)(B), but

leaving intact the elements clause in § 924(c)(3)(A). He argued that his § 924(c) convictions should
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be vacated because the underlying Hobbs Act robbery offenses could only be construed as crimes

of violence under the residual clause in § 924(c)(3)(B), which Davis had invalidated as

unconstitutionally vague.

       The Tenth Circuit authorized Hicks to file a successive § 2255 motion challenging his

conviction and sentence under Davis but did not consider the merits of his motion. (In re: James

Edward Hicks, Jr., No. 16-5087, Order filed December 31, 2019; see Doc. 87). Hicks filed a

motion for the appointment of counsel, which this Court granted, appointing an Assistant Federal

Public Defender (Docs. 88, 89). Hicks filed a successive § 2255 motion seeking to vacate his six

§ 924(c) convictions based on Davis. (Doc 92). Hicks acknowledges that Tenth Circuit precedent

forecloses his motion by holding that Hobbs Act robbery is a crime of violence under the elements

clause of § 924(c). (Doc. 93 at 6); see United States v. Melgar-Cabrera, 892 F.3d 1053 (10th Cir.

2018). Hicks’s successive § 2255 motion seeks merely to preserve his claim in the event the Tenth

Circuit or the Supreme Court reverse or overrule Melgar-Cabrera. Id.

       II. Analysis

       Hicks is correct that his motion is foreclosed by Tenth Circuit precedent holding that Hobbs

Act Robbery remains a crime of violence under the elements clause of § 924(c)(3)(A). See Doc.

93 at 5-6; United States v. Melgar-Cabrera, 892 F.3d 1053 (10th Cir. 2018); see also United States

v. Myers, 786 F.App’x 161 (10th Cir. 2019) (unpublished) (citing Melgar-Cabrera).

       Further, Hicks cannot surmount the second procedural hurdle for his successive § 2255

motion. Hobbs Act robbery contains an element requiring the use, attempted use, or threatened use

of force. Therefore, he cannot meet his burden to show that, even at the time of his conviction, he

was convicted based upon the residual clause in § 924(c)(3)(B), rather than the elements clause of
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§ 924(c)(3)(A). As a result, he cannot establish that Davis had any effect on the validity of his

convictions, and he cannot satisfy § 2255(h)(2) by showing that his motion rests on a new rule of

constitutional law. See United States v. Rushing, No. 05-CR-108-TCK, 2020 WL 2517233 at *3

(N.D.Okla. May 15, 2020) (unpublished).

       Accordingly, Plaintiff’s Motion to Dismiss Defendant Hick’s Successive §2255 Motion

(Doc. 97) is granted. Hicks’s second or successive § 2255 motion (Doc. 92) is dismissed.

       IT IS SO ORDERED this 16th day of October, 2020.
